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                        7HPSOH+LOOV0DU\ODQG ORFDWHGLQ3ULQFH*HRUJH¶V&RXQW\ 

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           2QRUDERXW1RYHPEHUDJHQWVIRUGHIHQGDQW'HSDUWPHQWRI+RPHODQG

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           0(5(VXEVHTXHQWO\ZDVUHXQLILHGZLWKKLVPRWKHU

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DSSOLFDWLRQZLWK86&,6H[HUFLVLQJKLVULJKWWRVHHNDV\OXPEHIRUH86&,6EDVHGRQWKHSROLF\

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           .$5&LVFXUUHQWO\LQUHPRYDOSURFHHGLQJVXQGHU86&D,1$

           $URXQG0D\DJHQWVIRU'HIHQGDQW'HSDUWPHQWRI+RPHODQG6HFXULW\

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             ,QWKHIDOORIZKHQ.$5&ZDV\HDUVROGKHILOHGKLVDV\OXP

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             'HIHQGDQW86'HSDUWPHQWRI+RPHODQG6HFXULW\ ³'+6´ LVDIHGHUDOFDELQHW

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    ³,1$´  see86& DQGDQ³DJHQF\´ZLWKLQWKHPHDQLQJRIWKH$3$ 86&

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             'HIHQGDQW.HYLQ0F$OHHQDQLVWKH$FWLQJ6HFUHWDU\RI+RPHODQG6HFXULW\DQG

WKHUHIRUHWKH³KHDG´RIWKH'HSDUWPHQWRI+RPHODQG6HFXULW\86& D  +HLV

FKDUJHGZLWKDGPLQLVWHULQJDQGHQIRUFLQJWKHIHGHUDOLPPLJUDWLRQDQGQDWLRQDOLW\ODZV86&

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             'HIHQGDQW86&LWL]HQVKLSDQG,PPLJUDWLRQ6HUYLFHV ³86&,6´ LVDEXUHDX

ZLWKLQ'+6 86& DQGDQ³DJHQF\´ZLWKLQWKHPHDQLQJRIWKH$3$ 86&

  86&,6LVWKH³DJHQF\´WKDWLVVXHGWKH5HGHWHUPLQDWLRQ0HPRUDQGXP

             'HIHQGDQW.HQQHWK7&XFFLQHOOLLVWKH$FWLQJ'LUHFWRURI86&LWL]HQVKLSDQG

,PPLJUDWLRQ6HUYLFHVDQGWKHUHIRUHWKH³KHDG´RIWKDWDJHQF\ 86& D  +HLVVXHG

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             7KLV&RXUWKDVIHGHUDOTXHVWLRQMXULVGLFWLRQRYHU3ODLQWLIIV¶FRPSODLQWXQGHU

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             7KH$3$SURYLGHVDFDXVHRIDFWLRQIRUSDUWLHVDGYHUVHO\DIIHFWHGE\ILQDODJHQF\

DFWLRQZKHQ³WKHUHLVQRRWKHUDGHTXDWHUHPHG\LQDFRXUW´86&7KDWFRQGLWLRQLV

PHWLQWKLVFDVHEHFDXVHWKH5HGHWHUPLQDWLRQ0HPRLVD³ILQDODJHQF\DFWLRQ´ZLWKLQWKH

PHDQLQJRIWKHVWDWXWHDQGWKHUHLVQRRWKHUDGHTXDWHUHPHG\DYDLODEOHLQDQ\RWKHUFRXUW

             9HQXHLVSURSHULQWKLVGLVWULFWXQGHU86& H  EHFDXVH'HIHQGDQWV

DUHRIILFHUVRUDJHQFLHVRIWKH8QLWHG6WDWHVDQGRQHRUPRUH3ODLQWLIIVUHVLGHLQWKHGLVWULFW

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                                  3DVVDJHRIWKH7935$LQ

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6WDWHVZDVWKHUHVSRQVLELOLW\RIWKH2IILFHRI-XYHQLOH$IIDLUVLQWKHIRUPHU,PPLJUDWLRQDQG

1DWXUDOL]DWLRQ6HUYLFH ³,16´ ,Q&RQJUHVVHQDFWHGWKH+RPHODQG6HFXULW\$FW ³+6$´ 

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IXQFWLRQVIRUPHUO\SHUIRUPHGE\,16WRWKHQHZO\IRUPHG'+6DQGLWVFRPSRQHQWVLQFOXGLQJ

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             7KH+6$GHILQHGDQ³XQDFFRPSDQLHGDOLHQFKLOG´DVDFKLOGZKR³ $ KDVQR

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UHVSHFWWRZKRP² L WKHUHLVQRSDUHQWRUOHJDOJXDUGLDQLQWKH8QLWHG6WDWHVRU LL QRSDUHQWRU

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    ³255´ ZLWKLQWKH'HSDUWPHQWRI+HDOWKDQG+XPDQ6HUYLFHV ³++6´ WKHUHVSRQVLELOLW\IRU
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WKHFDUHRI8$&V³ZKRDUHLQ)HGHUDOFXVWRG\E\UHDVRQRIWKHLULPPLJUDWLRQVWDWXV´+6$

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'HFHPEHUDQGWRRNHIIHFWLQ0DUFK,QDGGLWLRQWRPHDVXUHVWRFRPEDW

LQWHUQDWLRQDODQGGRPHVWLFKXPDQWUDIILFNLQJLQFOXGLQJWUDIILFNLQJRIFKLOGUHQWKH7935$

UHFRJQL]HGWKHYXOQHUDELOLW\RIFKLOGUHQIOHHLQJWKHLUFRXQWULHVRIRULJLQWRVHHNSURWHFWLRQLQWKH

8QLWHG6WDWHVDQGUHVSRQGHGZLWKPXOWLSOHSURYLVLRQVDGGUHVVLQJVDIHFXVWRG\DQGFKLOG

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           ,QVWUXFWXULQJWKH7935$&RQJUHVVSODFHGOHJDOSURWHFWLRQVIRU8$&VLQFOXGLQJ

SURYLVLRQVRQDV\OXPLQDVHFWLRQRIWKHVWDWXWHWLWOHG³3HUPDQHQWSURWHFWLRQIRUFHUWDLQDWULVN

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           $PRQJRWKHUVDIHJXDUGVWKH7935$SURYLGHVWKDW86&,6KDVLQLWLDOMXULVGLFWLRQ

RYHUD8$&¶VDV\OXPDSSOLFDWLRQHYHQZKHUHWKH8$&LVLQUHPRYDOSURFHHGLQJV²DGHYLDWLRQ

IURPWKHRUGLQDU\UXOHWKDW³DIILUPDWLYH´DV\OXPEHIRUH86&,6LVRQO\DYDLODEOHWRWKRVHZKRDUH

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LPPLJUDWLRQV\VWHPGHVLJQHGIRUDGXOWVDQGZKROLNHO\VRXJKWVDIHW\LQWKH8QLWHG6WDWHV

ZLWKRXWXQGHUVWDQGLQJWKHOHJDORSWLRQVWKDWH[LVWLQFOXGLQJDV\OXP,QVWHDGRIKDYLQJWREH

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DSSRLQWHGFRXQVHO D8$&DSSOLFDQWLVVHHQE\86&,6DV\OXPRIILFHUVWUDLQHGWRFRQGXFWQRQ

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             *HQHUDOO\DV\OXPDSSOLFDQWVPXVWILOHWKHLUDV\OXPDSSOLFDWLRQZLWKLQRQH\HDU

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WKRXJKWKH\ODFNWKHFDSDFLW\WRXQGHUVWDQGQXDQFHGOHJDOSULQFLSOHVOHWDORQHFRXUWURRPDQG

DGPLQLVWUDWLYHSURFHGXUHVWKHVHFRQG7935$SURWHFWLRQDWLVVXHKHUHPDNHVWKHRQH\HDUILOLQJ

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ZKRVHPLVVLRQLVWRHQIRUFHLPPLJUDWLRQODZV)RUH[DPSOH++6FRQWUDFWVZLWKDJHQFLHVZKR

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          ,EHOLHYHZHKDYHDVSHFLDOREOLJDWLRQWRHQVXUHWKDWWKHVHFKLOGUHQDUHWUHDWHG
          KXPDQHO\DQGIDLUO\8QIRUWXQDWHO\ZLWKRXWWKLVOHJLVODWLRQWKHUHZRXOGEHQR
          SURFHGXUHWRPDNHVXUHWKDWKDSSHQV&XUUHQWO\ZKHQDFKLOGLVDSSUHKHQGHGE\
          LPPLJUDWLRQDXWKRULWLHVWKDWFKLOGXVXDOO\NQRZVQRWKLQJDERXW86FRXUWVRU
          LPPLJUDWLRQSROLFLHVDQGIUHTXHQWO\GRHVQRWVSHDN(QJOLVK
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Id.

             &RQJUHVVLQVWUXFWHG86&,6LQRUGHUWRSURSHUO\DGPLQLVWHUWKH7935$WRHQDFW

³UHJXODWLRQVZKLFKWDNHLQWRDFFRXQWWKHVSHFLDOL]HGQHHGVRIXQDFFRPSDQLHGDOLHQFKLOGUHQDQG

ZKLFKDGGUHVVERWKSURFHGXUDODQGVXEVWDQWLYHDVSHFWVRIKDQGOLQJXQDFFRPSDQLHGDOLHQ

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      ,QLWLDO,PSOHPHQWDWLRQRIWKH7935$DQGWKH6HSWHPEHU2IILFHRIWKH&LWL]HQVKLS
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    0DUFK0HPRUDQGXPUHImplementation of Statutory Change Providing USCIS with

Initial Jurisdiction over Asylum Applications Filed by Unaccompanied Alien Children 7KH

PHPRUDQGXPLQVWUXFWVDV\OXPRIILFHUVWKDWWKH\PXVWPDNHDQLQLWLDOGHWHUPLQDWLRQDVWR

86&,6¶VMXULVGLFWLRQIRUDOODV\OXPDSSOLFDWLRQVILOHGE\8$&VLQUHPRYDOSURFHHGLQJVId.DW

)XUWKHUDFFRUGLQJWRWKHPHPRUDQGXPDV\OXPRIILFHUVDUHWRGHWHUPLQHZKHWKHUDWWKH


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WLPHRIILOLQJWKHFKLOGZDVXQGHU\HDUVRIDJHDQGXQDFFRPSDQLHGId.DW7KH

PHPRUDQGXPVWDWHVWKDW³>I@HGHUDOUHJXODWLRQVZLOOXOWLPDWHO\EHSURPXOJDWHGLQRUGHUWRUHIOHFW

WKHSURFHGXUHVHVWDEOLVKHGIRU86&,6LQLWLDOMXULVGLFWLRQ´Id. DW

           7KHSURFHGXUHVVHWIRUWKLQWKHPHPRUDQGXPZHUHFRQWUDU\WRWKH7935$

DVDFNQRZOHGJHGE\WKH&LWL]HQVKLSDQG,PPLJUDWLRQ6HUYLFHV2PEXGVPDQ ³2PEXGVPDQ´ 

2Q6HSWHPEHUWKH2PEXGVPDQLVVXHGDUHSRUWWLWOHGEnsuring a Fair and Efficient

Asylum Process for Unaccompanied Minor Children WKH³2PEXGVPDQ5HSRUW´  ([ 

SURYLGLQJDQLQGHSHQGHQWDQDO\VLVRISUREOHPVHQFRXQWHUHGE\8$&VVHHNLQJDV\OXPLQWKH

8QLWHG6WDWHVDQGUHFRPPHQGDWLRQVWRLPSURYHWKHSURFHVV7KH2PEXGVPDQUHFRJQL]HGWKDW

86&,6KDGIDLOHGWRLPSOHPHQWWKH³VWDWXWRULO\UHTXLUHGUHJXODWLRQV´IRU8$&VVHHNLQJDV\OXP

,QVWHDG86&,6KDG³GHYHORSHGDQGLPSOHPHQWHGFHUWDLQWHPSRUDU\SROLFLHVDQGSURFHGXUHVIRU

8$&DV\OXPVHHNHUV´Id.DW

           7RFRPSOHWHLWVUHYLHZWKH2PEXGVPDQ³LQWHUYLHZHG86&,6$V\OXP'LYLVLRQ

PDQDJHUDQGVWDIIDW+HDGTXDUWHUVDQGVHYHQRIWKHHLJKW$V\OXP2IILFHV(2,5RIILFLDOVDQG

VWDNHKROGHUVWKURXJKRXWWKHFRXQWU\´([DW7KH2PEXGVPDQ³DOVRVWXGLHGFDVHDVVLVWDQFH

UHTXHVWVDQGUHSRUWHGLQFLGHQWVVXEPLWWHGGLUHFWO\WR>LWV@RIILFHE\VWDNHKROGHUV´Id.

           $FFRUGLQJWRWKH2PEXGVPDQ³&RQJUHVVGLGQRWSURYLGHODQJXDJHLQGLFDWLQJWKDW

WKHILOLQJRIDQDV\OXPDSSOLFDWLRQVKRXOGWULJJHUDQHZRUVXFFHVVLYH8$&GHWHUPLQDWLRQVWKDW

FRXOGHOLPLQDWHVWDWXWRU\SURWHFWLRQVRUUHPRYHWKH8$&IURP>UHPRYDO@SURFHHGLQJV´Id.DW

           7KH2PEXGVPDQDOVRUHFRJQL]HGWKDWWKH³7935$¶VSURFHGXUDODQGVXEVWDQWLYH

SURWHFWLRQVZHUHGHVLJQHGWRUHPDLQDYDLODEOHWR8$&VWKURXJKRXWUHPRYDOSURFHHGLQJV

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 7KH&LWL]HQVKLSDQG,PPLJUDWLRQ6HUYLFHV2PEXGVPDQHVWDEOLVKHGE\WKH+RPHODQG6HFXULW\
$FWRISURYLGHVLQGHSHQGHQWDQDO\VLVRISUREOHPVHQFRXQWHUHGE\LQGLYLGXDOVLQWHUDFWLQJ
ZLWK86&LWL]HQVKLSDQG,PPLJUDWLRQ6HUYLFHVDQGSURSRVHVFKDQJHVWRPLWLJDWHWKRVH
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KRXVLQJSODFHPHQWDQGWKHSXUVXLWRIDQ\DYDLODEOHUHOLHI6XEMHFWLQJDFKLOGVHHNLQJDV\OXPWR

PXOWLSOH8$&GHWHUPLQDWLRQVDVLVUHTXLUHGE\86&,6¶WHPSRUDU\JXLGDQFHDSSHDUVDWRGGVZLWK

WKH7935$¶VH[SUHVVSXUSRVHQDPHO\WRSURYLGHWLPHO\DSSURSULDWHUHOLHIIRUYXOQHUDEOH

FKLOGUHQ´Id.

             7KH2PEXGVPDQUHFRJQL]HGWKDWZKHQDFKLOGLVSODFHGLQUHPRYDOSURFHHGLQJV

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GHFOLQHGWRH[HUFLVHLWVLQLWLDOMXULVGLFWLRQRYHUVRPHFKLOGUHQZKRKDGILOHGDSSOLFDWLRQVZLWK

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             ,QWKH2PEXGVPDQ5HSRUWWKH2PEXGVPDQRXWOLQHGQXPHURXVSUREOHPV

WKDWIORZHGIURPUHGHWHUPLQLQJ8$&VWDWXVDWDV\OXPLQWHUYLHZVLQFOXGLQJLQHIILFLHQFLHV

DWWHQGDQWXSRQVFKHGXOLQJDQGFRQGXFWLQJLQWHUYLHZVRQO\WRGLVFODLPMXULVGLFWLRQLQQHDUO\KDOI

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WUDLQLQJ id.DW DQGXQGHUPLQLQJSUHGLFWDELOLW\DQGXQLIRUPLW\LQWKHKDQGOLQJRIFKLOGUHQ¶V

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DGYHUVDULDOLQWHUYLHZVHQYLVLRQHGE\&RQJUHVV´WKH86&,6SROLF\RIXQGHUWDNLQJD

UHGHWHUPLQDWLRQRI8$&VWDWXVDWHYHU\DV\OXPLQWHUYLHZFUHDWHG³GHOD\DQGFRQIXVLRQ´Id.DW

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LQWHUYLHZWHFKQLTXHVDQGDGMXGLFDWLRQVDQGUHGXFHSRVWLQWHUYLHZSURFHVVLQJGHOD\V´Id.DW

$VWKH2PEXGVPDQQRWHG

           $FKLOG¶VOLYLQJFLUFXPVWDQFHVRUUHODWLRQVKLSZLWKKLVRUKHUIDPLO\PD\EH
           G\QDPLFVRWKHFKLOGPD\IDOOERWKZLWKLQDQGZLWKRXWRIWKH8$&GHILQLWLRQ
           ZKLOHSUHVHQWLQWKH8QLWHG6WDWHV*LYHQWKLVIOXLGLW\DVZHOODVLQFRQVLVWHQFLHV
           LQSUDFWLFHE\'+6DQG(2,5OHJDODGYRFDWHVEHOLHYHWKDWWKH8$&GHILQLWLRQ
           LWVHOILVWRRYDJXHDQGLPSUDFWLFDODQGWKDWWKHVWDWXVRQFHDWWDFKHGVKRXOG
           UHPDLQZLWKDFKLOGWKURXJKWKHSHQGHQF\RIKLVRUKHUFDVH
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DSSOLFDWLRQILOHGE\DFKLOGZKRPDIHGHUDODJHQF\KDGSUHYLRXVO\GHWHUPLQHGWREHD8$&Id.

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              $VWKH2PEXGVPDQFRUUHFWO\FRQFOXGHGEDVHGRQLWVH[WHQVLYHDVVHVVPHQW

³>H@OLPLQDWLQJWKHSUDFWLFHRI86&,6UHGHWHUPLQLQJ8$&VWDWXVGXULQJWKHDV\OXPLQWHUYLHZ

ZRXOGDOVRUHVWRUHDOHYHORIIDLUQHVVWKDWFRPHVIURPKDYLQJDSUHGLFWDEOHDQGXQLIRUPSURFHVV´

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SODFHGLQWRIHGHUDOFXVWRG\ZLWKWKH++6KHOSLQJWRHQVXUHDFRQVLVWHQWSURFHVVIRUVFRUHVRI

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LPSURYH´DQGDJUHHGZLWKWKH2PEXGVPDQ¶VUHFRPPHQGDWLRQWKDW86&,6VKRXOGDFFHSW

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&KLHI$V\OXP'LYLVLRQUHJDUGLQJ³Updated Procedures for Determination of Initial

Jurisdiction over Asylum Applications Filed by Unaccompanied Alien Children´ WKH³.LP

0HPRUDQGXP´  ([ 7KH.LP0HPRUDQGXPSURYLGHVSURFHGXUHVIRU³GHWHUPLQLQJ

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DJHQF\KDGDOUHDG\GHWHUPLQHGPHWWKHVWDWXWRU\GHILQLWLRQRI8$&Id.DW8QGHUWKH

.LP0HPRUDQGXP³>L@QFDVHVLQZKLFK&%3RU,&(KDVDOUHDG\GHWHUPLQHGWKDWWKHDSSOLFDQWLV

D8$&$V\OXP2IILFHVZLOODGRSWWKDWGHWHUPLQDWLRQDQGWDNHMXULVGLFWLRQRYHUWKHFDVH´Id.

)XUWKHULIDVRIWKHGDWHRILQLWLDOILOLQJRIWKHDV\OXPDSSOLFDWLRQWKDW8$&VWDWXVGHWHUPLQDWLRQ

ZDVVWLOOLQSODFH³86&,6ZLOOWDNHLQLWLDOMXULVGLFWLRQRYHUWKHFDVHHYHQLIWKHUHDSSHDUVWREH

HYLGHQFHWKDWWKHDSSOLFDQWPD\KDYHWXUQHG\HDUVRIDJHRUPD\KDYHUHXQLWHGZLWKDSDUHQW

RUOHJDOJXDUGLDQVLQFHWKH&%3RU,&(GHWHUPLQDWLRQ´Id. 

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           ,QUHOLDQFHRQWKHUXOHVVHWIRUWKLQWKH.LP0HPRUDQGXP3ODLQWLIIVDQG

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PRVWUHFHQWUHDIILUPDWLRQLQDVHULHVRISXEOLFVWDWHPHQWVWRVWDNHKROGHUVLQZKLFK86&,6

FRQILUPHGWKDW³>W@KH0D\0HPRUDQGXPRQLQLWLDOMXULVGLFWLRQRYHUDV\OXP

DSSOLFDWLRQVILOHGE\8$&VDQGWKHUHODWHG-XQHSROLF\GRFXPHQWVUHPDLQLQHIIHFW´Id.

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Alien Children´ ([ $OWKRXJKWKHPHPRUDQGXPLVGDWHG0D\86&,6GLGQRW

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ZKHWKHUWKHLQGLYLGXDOPHWWKH8$&GHILQLWLRQRQWKHGDWHRIILUVWILOLQJWKHDV\OXPDSSOLFDWLRQ´

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              8QGHUWKHQHZSROLF\VHWIRUWKLQWKH5HGHWHUPLQDWLRQ0HPRD8$&ZKR

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MXULVGLFWLRQEHFDXVHWKHDV\OXPRIILFHUGHWHUPLQHGWKHDSSOLFDQWZDVQRWD8$&DWWKHWLPHRI

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SURYLGHFDUHDQGSK\VLFDOFXVWRG\´WKHQWKHDV\OXPRIILFHUPXVWGHFOLQHMXULVGLFWLRQ)RUWKRVH

XQDFFRPSDQLHGFKLOGUHQLQUHPRYDOSURFHHGLQJVZKRDSSOLHGIRUDV\OXPZKHQWKH\ZHUHRU

ROGHURUZKRODWHUIRXQGDSDUHQWRUJXDUGLDQEDVHGRQLWVUHGHWHUPLQDWLRQ86&,6ZLOOUHIHUWKH

FKLOGUHQ¶VDV\OXPFODLPVWRWKH,PPLJUDWLRQ&RXUWZKHUHWKH\ZLOODZDLWDQDGYHUVDULDOSURFHVV

0RUHRYHUDVWKH&,62PEXGVPDQQRWHGZLWKUHIHUHQFHWRWKHLQLWLDOSROLF\DQ\UHFRUG

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WKHDSSOLFDQWLQWKHDGYHUVDULDOLPPLJUDWLRQSURFHVV7KH8$&DSSOLFDQWKDVQRRSSRUWXQLW\WR

FKDOOHQJHWKRVH86&,6QRWHVWDNHQLQWKHFRXUVHRIDSURFHVV86&,6QRZFODLPVQRWWRKDYH

MXULVGLFWLRQWRFRQGXFW

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WDNHDFKLOGDVXEVWDQWLDOSHULRGRIWLPHWRILQGOHJDOUHSUHVHQWDWLRQ²LIVKHHYHUGRHV7KH

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ILQGOHJDOUHSUHVHQWDWLRQDIWHUWXUQLQJRUPRUHWKDQRQH\HDUDIWHUHQWU\DQGVXEVHTXHQWO\ILOH

IRUDV\OXPEHIRUH86&,6

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SURFHVVUHPDLQVDYDLODEOH)RUH[DPSOHPDQ\XQDFFRPSDQLHGFKLOGUHQVXIIHUHGQHJOHFW

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WUDIILFNLQJDQGRWKHUFULPHV)RUPDQ\UHDVRQVLQFOXGLQJVSHHGRISURFHVVLQJDELOLW\WRDYRLG

UHYLVLWLQJWUDXPDDQGDYDLODELOLW\RIYLVDVD8$&DQGKLVRUKHUOHJDOUHSUHVHQWDWLYHPD\GHFLGH

WRSXUVXH6,-6RUDQRWKHUIRUPRISRWHQWLDOUHOLHISULRUWRILOLQJIRUDV\OXPEHIRUH86&,6

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ILOLQJGHDGOLQHDQGVWLOOEHHQWLWOHGWRWKHFKLOGDSSURSULDWHQRQDGYHUVDULDOLQWHUYLHZSURFHVVLQ

WKHILUVWLQVWDQFH7KHQXQGHUWKHV\VWHP&RQJUHVVFUHDWHGLIWKHFKLOGZHUHXQVXFFHVVIXOLQWKH

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HVWDEOLVKHGSROLF\8SRQLQIRUPDWLRQDQGEHOLHI86&,6GHOD\HGVFKHGXOLQJLQWHUYLHZVLQ

DQWLFLSDWLRQRIWKHSURQRXQFHPHQWRIDQHZSROLF\)XUWKHU86&,6PD\KDYHGHOD\HG

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TXDOLILHGFKLOGUHQIURPEHQHILWWLQJIURPWKHSURWHFWLRQVRIWKH7935$

             86&,6DVVHUWVLQWKH5HGHWHUPLQDWLRQ0HPRWKDW86&,6KDVDGRSWHGWKH

QHZDV\OXPSROLF\LQRUGHUWREULQJ86&,6SUDFWLFHLQOLQHZLWKDSUHFHGHQWLDO%RDUGRI

,PPLJUDWLRQ$SSHDOV ³%,$´ GHFLVLRQUHJDUGLQJMXULVGLFWLRQRYHUDV\OXPDSSOLFDWLRQV

$FFRUGLQJWR86&,6WKHQHZUXOHLVQHFHVVDU\³>W@RHQVXUH86&,6LVPDNLQJWKHVHMXULVGLFWLRQDO




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GHWHUPLQDWLRQVLQDPDQQHUFRQVLVWHQWZLWK,PPLJUDWLRQ-XGJHGHWHUPLQDWLRQVRQWKHVDPH

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of M-A-C-O-, 1'HF %,$ GRHVQRWGLYHVW86&,6RILWVDXWKRULW\WR

GHWHUPLQHZKHWKHULWKDVMXULVGLFWLRQRYHUDQDV\OXPDSSOLFDWLRQ,QGHHG86&,6UHFRJQL]HGWKLV

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DXWKRULW\WRPDNHWKLVMXULVGLFWLRQDOGHWHUPLQDWLRQ´([DW86&,6DOVRUHFRJQL]HGLQLWV

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GHWHUPLQDWLRQVDERXWLWVRZQMXULVGLFWLRQ86&,6FRQWLQXHVWRPDNHLWVMXULVGLFWLRQDO

GHWHUPLQDWLRQVXQGHULWVRZQSURFHGXUHV´([ DW

            7KH%,$GHFLVLRQGRHVQRWPDQGDWHDQ\FKDQJHVWR86&,6SROLF\,WGRHVQRW

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WHQWDWLYHRULQWHUORFXWRU\QDWXUH´Bennett v. Spear86  7KH

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ULJKWWRVHHNUHOLHIIURPWKHDV\OXPRIILFHDQGLQVRPHLQVWDQFHVZLOOKDYHWKHLUDSSOLFDWLRQV

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PDNLQJDQLQGHSHQGHQWIDFWXDOLQTXLU\DVWRZKHWKHUWKHLQGLYLGXDOPHWWKH8$&GHILQLWLRQDWWKH

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8$&GHILQLWLRQZKLFKLQFOXGHVWKHDSSOLFDQW¶VEXUGHQWRHVWDEOLVKKLVRUKHUDJHDQGWKDWWKH

DSSOLFDQWZDVXQDFFRPSDQLHGDWWKHWLPHRIILUVWILOLQJWKHDV\OXPDSSOLFDWLRQ´Id.

           'HIHQGDQWVGLGQRWXQGHUWDNHQRWLFHDQGFRPPHQWUXOHPDNLQJSULRUWRLVVXLQJWKH

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UHJXODWLRQVZKLFKWDNHLQWRDFFRXQWWKHVSHFLDOL]HGQHHGVRIXQDFFRPSDQLHGDOLHQFKLOGUHQDQG

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DSSOLFDWLRQDQGLQVWHDGZLOOEHVXEMHFWWRDQDGYHUVDULDOSURFHVVLQ,PPLJUDWLRQ&RXUWZKHUHKH

ZLOOEHFURVVH[DPLQHGDERXWWKHDEXVHDQGSHUVHFXWLRQKHVXIIHUHGDVDFKLOG7KLVZLOOIXUWKHU

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GHFOLQHMXULVGLFWLRQRYHU0$/&¶VDV\OXPDSSOLFDWLRQEHFDXVHKHILOHGDIWHUWXUQLQJ

0$/&ZLOOORVHWKHSURWHFWLRQVDVVRFLDWHGZLWK86&,6MXULVGLFWLRQRYHUKLVDV\OXP

DSSOLFDWLRQDQGLQVWHDGZLOOEHVXEMHFWWRDQDGYHUVDULDOSURFHVVLQ,PPLJUDWLRQ&RXUWZKHUHKH

ZLOOEHFURVVH[DPLQHGDERXWWKHDEXVHDQGSHUVHFXWLRQKHVXIIHUHGDVDFKLOG7KLVZLOOIXUWKHU




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GHOD\WKHDOUHDG\H[WHQGHGSHULRGRIWLPH0$/&KDVZDLWHGIRUKLVDV\OXPDSSOLFDWLRQWREH

GHFLGHG

         )XUWKHU0$/&PD\EHGHHPHGLQHOLJLEOHIRUDV\OXPDWDOOEHFDXVHKLV

DSSOLFDWLRQZDVILOHGPRUHWKDQRQH\HDUDIWHUKHHQWHUHGWKH8QLWHG6WDWHV

         3ODLQWLII.$5&HQWHUHGWKH8QLWHG6WDWHVZKHQKHZDV\HDUVROG8SRQ

DSSUHKHQVLRQKHZDVGHWHUPLQHGE\'+6WREHD8$&

         ,QUHOLDQFHRQWKHSROLF\.$5&DSSOLHGIRUDV\OXPLQWKHIDOORI

ZKHQKHZDV\HDUVROG.$5&KDGDQDV\OXPLQWHUYLHZLQ1RYHPEHU2YHU

PRQWKVODWHU.$5&KDVQRWUHFHLYHGDGHFLVLRQRQKLVDV\OXPDSSOLFDWLRQ

         8QGHUWKHQHZUXOHVVHWIRUWKLQWKH5HGHWHUPLQDWLRQ0HPR86&,6ZLOO

GHFOLQHMXULVGLFWLRQRYHU.$5&¶VDV\OXPDSSOLFDWLRQEHFDXVHKHILOHGDIWHUWXUQLQJ

.$5&ZLOOORVHWKHSURWHFWLRQVDVVRFLDWHGZLWK86&,6MXULVGLFWLRQRYHUKLVDV\OXP

DSSOLFDWLRQDQGLQVWHDGZLOOEHVXEMHFWWRDQDGYHUVDULDOSURFHVVLQ,PPLJUDWLRQ&RXUWZKHUHKH

ZLOOEHFURVVH[DPLQHGDERXWWKHSK\VLFDODEXVHKHVXIIHUHGDWWKHKDQGVRIKLVIDWKHUDQGEURWKHU

DQGWKHUDSHDQGWKUHDWVRISK\VLFDOYLROHQFHE\JDQJPHPEHUV7KLVZLOOIXUWKHUGHOD\WKH

DOUHDG\H[WHQGHGSHULRGRIWLPH.$5&KDVZDLWHGIRUKLVDV\OXPDSSOLFDWLRQWREHGHFLGHG

7KHDGGHGGHOD\ZLOOSUHYHQW.$5&IURPSXUVXLQJDFROOHJHHGXFDWLRQ

         )XUWKHU.$5&PD\EHGHHPHGLQHOLJLEOHIRUDV\OXPDWDOOEHFDXVHKLV

DSSOLFDWLRQZDVILOHGPRUHWKDQRQH\HDUDIWHUKHHQWHUHGWKH8QLWHG6WDWHV

         3ODLQWLII-23HQWHUHGWKH8QLWHG6WDWHVZKHQKHZDV\HDUVROG8SRQ

DSSUHKHQVLRQ'+6GHWHUPLQHGKLPWREHD8$&




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        ,QUHOLDQFHRQWKHSROLF\-23DSSOLHGIRUDV\OXPLQ)HEUXDU\VWLOO

XQGHUWKHDJHRIEXWDIWHUEHLQJUHXQLWHGZLWKKLVPRWKHULQWKH8QLWHG6WDWHV-23KDVQRW

EHHQVFKHGXOHGIRUDQDV\OXPLQWHUYLHZ

        8QGHUWKHQHZSROLF\VHWIRUWKWKHLQ5HGHWHUPLQDWLRQ0HPR86&,6ZLOO

GHFOLQHMXULVGLFWLRQRYHU-23¶VDV\OXPDSSOLFDWLRQEHFDXVHKHILOHGDIWHUUHXQLWLQJZLWKKLV

PRWKHU-23ZLOOORVHWKHSURWHFWLRQVDVVRFLDWHGZLWK86&,6MXULVGLFWLRQRYHUKLVDV\OXP

DSSOLFDWLRQDQGLQVWHDGZLOOEHVXEMHFWWRDQDGYHUVDULDOSURFHVVLQ,PPLJUDWLRQ&RXUWZKHUHKH

ZLOOEHFURVVH[DPLQHGDERXWWKHPXUGHUKHZLWQHVVHGDQGWKUHDWVKHUHFHLYHGLQKLVKRPH

FRXQWU\7KLVZLOOIXUWKHUGHOD\WKHDOUHDG\H[WHQGHGSHULRGRIWLPH-23KDVZDLWHGIRUKLV

DV\OXPDSSOLFDWLRQWREHGHFLGHG

                                    &/$66$//(*$7,216

        3ODLQWLIIVLQFRUSRUDWHE\UHIHUHQFHWKHSUHFHGLQJDOOHJDWLRQVRIWKLV&RPSODLQW

        3ODLQWLIIVEULQJWKLVDFWLRQXQGHU)HGHUDO5XOHRI&LYLO3URFHGXUH E  RQ

EHKDOIRIWKHPVHOYHVDQGDQDWLRQZLGHFODVVRIDOORWKHUSHUVRQVVLPLODUO\VLWXDWHG

        3ODLQWLIIVVHHNWRUHSUHVHQWWKHIROORZLQJQDWLRQZLGHFODVV

       $OOLQGLYLGXDOVQDWLRQZLGHZKR  ZHUHGHWHUPLQHGWREHDQ8QDFFRPSDQLHG$OLHQ
       &KLOGEHIRUH-XQHDQG  ZKRKDGILOHGDQDV\OXPDSSOLFDWLRQWKDWZDV
       SHQGLQJZLWK8QLWHG6WDWHV&LWL]HQVKLSDQG,PPLJUDWLRQ6HUYLFHV ³86&,6´ DVRI-XQH
       DQG  RQWKHGDWHWKH\ILOHGWKHLUDV\OXPDSSOLFDWLRQZLWK86&,6ZHUH
       \HDUVRIDJHRUROGHURUKDGDSDUHQWRUOHJDOJXDUGLDQLQWKH8QLWHG6WDWHVZKRLV
       DYDLODEOHWRSURYLGHFDUHDQGSK\VLFDOFXVWRG\DQG  DVRI-XQH86&,6KDV
       QRWDGMXGLFDWHGWKHLQGLYLGXDO¶VDV\OXPDSSOLFDWLRQ
       
        3ODLQWLIIVDUHHDFKDGHTXDWHUHSUHVHQWDWLYHVRIWKHSURSRVHGFODVV

        7KHSURSRVHGFODVVVDWLVILHVWKHUHTXLUHPHQWVRI5XOH D  EHFDXVHWKHFODVVLV

VRQXPHURXVWKDWMRLQGHURIDOOPHPEHUVLVLPSUDFWLFDEOH




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           2QLQIRUPDWLRQDQGEHOLHIWKHUHDUHWKRXVDQGVRILQGLYLGXDOVZKRILWZLWKLQWKH

FODVV

           7KHFODVVPHHWVWKHFRPPRQDOLW\UHTXLUHPHQWVRI5XOH D  7KHPHPEHUVRI

WKHFODVVDUHDOOVXEMHFWWRWKH5HGHWHUPLQDWLRQ0HPRDQGZLOOORVHWKHLUULJKWWRSURFHHG

EHIRUH86&,6RQWKHEDVLVRIWKHQHZSROLF\7KLVODZVXLWUDLVHVTXHVWLRQVRIODZFRPPRQWRDOO

PHPEHUVRIWKHFODVVLQFOXGLQJZKHWKHU'HIHQGDQWVKDYHYLRODWHGWKHFODVVPHPEHUV¶GXH

SURFHVVULJKWVZKHWKHUWKH5HGHWHUPLQDWLRQ0HPRLVDUELWUDU\DQGFDSULFLRXVXQGHUWKH

$3$DQGZKHWKHUWKH5HGHWHUPLQDWLRQ0HPRLVXQODZIXOEHFDXVHLWZDVQRWSURPXOJDWHG

SXUVXDQWWRQRWLFHDQGFRPPHQWDVUHTXLUHGE\WKH$3$

           7KHSURSRVHGFODVVPHHWVWKHW\SLFDOLW\UHTXLUHPHQWVRI5XOH D  EHFDXVH

WKHFODLPVRIWKHUHSUHVHQWDWLYH3ODLQWLIIVDUHW\SLFDORIWKHFODLPVRIWKHFODVV3ODLQWLIIVDQGWKH

SURSRVHGFODVVVKDUHWKHVDPHOHJDOFODLPVZKLFKDVVHUWWKHVDPHVXEVWDQWLYHDQGSURFHGXUDO

ULJKWVXQGHUWKHGXHSURFHVVFODXVHWKH$3$DQGWKH7935$

           7KHSURSRVHGFODVVPHHWVWKHDGHTXDF\UHTXLUHPHQWVRI5XOH D  7KH

UHSUHVHQWDWLYH3ODLQWLIIVVHHNWKHVDPHUHOLHIDVRWKHUPHPEHUVRIWKHFODVVDQGKDYHLGHQWLFDO

LQWHUHVWVWRWKHFODVVPHPEHUVLQYLJRURXVO\SXUVXLQJWKDWUHOLHI,QGHIHQGLQJWKHLURZQULJKWV

3ODLQWLIIVZLOOGHIHQGWKHULJKWVRIDOOSURSRVHGFODVVPHPEHUVIDLUO\DQGDGHTXDWHO\

           7KHSURSRVHGFODVVDOVRVDWLVILHG)HGHUDO5XOHRI&LYLO3URFHGXUH E  

'HIHQGDQWVKDYHDFWHGRQJURXQGVWKDWDUHJHQHUDOO\DSSOLFDEOHWRHDFKFODVVPHPEHU,QMXQFWLYH

DQGGHFODUDWRU\UHOLHILVWKXVDSSURSULDWHZLWKUHVSHFWWRWKHFODVVDVDZKROH

                                           &2817,
    $GPLQLVWUDWLYH3URFHGXUH$FW±$UELWUDU\&DSULFLRXVRU2WKHUZLVH1RWLQ$FFRUGDQFH
                                          :LWK/DZ 
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        3ODLQWLIIVLQFRUSRUDWHE\UHIHUHQFHWKHSUHFHGLQJDOOHJDWLRQVRIWKLV&RPSODLQW



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        7LWOH86&RGH  DXWKRUL]HVDFRXUWWRKROGXQODZIXODQGVHWDVLGHILQDO

DJHQF\DFWLRQIRXQGWREHDUELWUDU\FDSULFLRXVDQDEXVHRIGLVFUHWLRQ HJLUUDWLRQDO RU

RWKHUZLVHQRWLQDFFRUGDQFHZLWKODZRULQH[FHVVRIVWDWXWRU\MXULVGLFWLRQRUDXWKRULW\

        7KHDV\OXPSROLF\VHWIRUWKLQWKH5HGHWHUPLQDWLRQ0HPRLVDUELWUDU\

FDSULFLRXVDQDEXVHRIGLVFUHWLRQQRWLQDFFRUGDQFHODZDQGLVLQFRQVLVWHQWZLWKWKH7935$

DQGWKHUHIRUHLQYLRODWLRQRI86&  

        7KH5HGHWHUPLQDWLRQ0HPRYLRODWHVWKH7935$EHFDXVHWKHDV\OXPUXOHV

VHWIRUWKWKHUHLQDUHFRQWUDU\WRLWVSODLQODQJXDJH7KH5HGHWHUPLQDWLRQ0HPRPDQGDWHV

WKDWDOODV\OXPRIILFHUVPXVWHYDOXDWHLQDOOFDVHVZKHWKHUDQDSSOLFDQWPHWWKHVWDWXWRU\

GHILQLWLRQRID8$&DWWKHWLPHRIILOLQJWKHDV\OXPDSSOLFDWLRQ7KLVPDQGDWHDSSOLHVLQDOO

FDVHVHYHQZKHUHDQLQGLYLGXDOKDGSUHYLRXVO\EHHQGHWHUPLQHGWREHD8$&7KHVHPDQGDWHV

DUHFRQWUDU\WRWKHVWUXFWXUHDQGWH[WRIWKH7935$ZKLFKSODLQO\HVWDEOLVKWKDWDFKLOG¶V8$&

VWDWXVGHWHUPLQDWLRQRFFXUVXSRQWKHFKLOG¶VLQLWLDOFRQWDFWZLWKDIHGHUDOJRYHUQPHQWGHSDUWPHQW

RUDJHQF\DQGLVQRWVXEMHFWWRUHGHWHUPLQDWLRQE\86&,6

        7KH5HGHWHUPLQDWLRQ0HPRLVDUELWUDU\DQGFDSULFLRXVEHFDXVHIRU

H[DPSOHLWGRHVQRWDGGUHVVQRUDFNQRZOHGJHDQ\RIWKHUHDVRQVIRUDGRSWLQJWKHDV\OXPSROLF\

LQSODFHVLQFHIRU8$&VVHHNLQJDV\OXPEHIRUH86&,6'HIHQGDQWVKDYHIDLOHGWRSURYLGH

DQ\H[SODQDWLRQPXFKOHVVDUHDVRQHGH[SODQDWLRQRIKRZWKH5HGHWHUPLQDWLRQ0HPR

DGGUHVVHVWKHLVVXHVOHDGLQJWRWKHDGRSWLRQRIWKH0HPRUDQGXPRUZK\FRQVLVWHQF\ZLWK

%RDUGRI,PPLJUDWLRQ$SSHDOVSUHFHGHQWUHODWHVWRZKHWKHUD8$&KDVVXEVHTXHQWO\EHHQ

UHXQLWHGZLWKDSDUHQWRUDVVLJQHGDOHJDOJXDUGLDQ




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        7KH5HGHWHUPLQDWLRQ0HPRLVDOVRDUELWUDU\DQGFDSULFLRXVEHFDXVHLWIDLOV

WRFRQVLGHUWKHUHOLDQFHLQWHUHVWVRIFKLOGUHQLQFOXGLQJ3ODLQWLIIVZLWKSHQGLQJDV\OXP

DSSOLFDWLRQVZKRKDGUHOLHGLQJRRGIDLWKRQWKHDV\OXPSROLF\LQSODFHVLQFH

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                                    9LRODWLRQRI'XH3URFHVV 
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        3ODLQWLIIVLQFRUSRUDWHE\UHIHUHQFHWKHSUHFHGLQJDOOHJDWLRQVRIWKLV&RPSODLQW

        'HIHQGDQWVYLRODWH3ODLQWLIIV¶'XH3URFHVVULJKWVE\UHWURDFWLYHO\DSSO\LQJWKH

DV\OXPUXOHVVHWIRUWKLQWKH5HGHWHUPLQDWLRQ0HPR3ODLQWLIIVILOHGIRUDV\OXPUHDVRQDEO\

H[SHFWLQJWREHQHILWIURPDOOWKHSURWHFWLRQVDQGULJKWVDFFRUGHGE\WKH7935$WR8$&VDV

RXWOLQHGE\WKH.LP0HPRUDQGXP<HWWKH5HGHWHUPLQDWLRQ0HPRZLOODFWXDOO\

SHQDOL]HWKH3ODLQWLIIV¶SDVWFRQGXFWWDNHQLQUHOLDQFHRQ86&,6SROLF\LQSODFHVLQFH

        7KHDV\OXPSROLF\VHWIRUWKLQWKH5HGHWHUPLQDWLRQ0HPRFKDQJHVWKHOHJDO

ODQGVFDSHIRUFKLOGDV\OXPDSSOLFDQWVE\UDGLFDOO\UHZULWLQJWKHWHUPVXQGHUZKLFKDSSOLFDQWV

OLNHWKH3ODLQWLIIVZKRKDYHEHHQGHWHUPLQHGWREH8$&VFDQVHHNDV\OXP3XUVXDQWWRWKH

DV\OXPSROLF\SURPXOJDWHGE\WKH.LP0HPRUDQGXP86&,6KDGLQLWLDOMXULVGLFWLRQRYHU

HDFKRI3ODLQWLIIV¶DV\OXPDSSOLFDWLRQVEDVHGRQ'+6¶VSULRUGHWHUPLQDWLRQWKDWHDFK3ODLQWLII

ZDVD8$&:LWKRXWDQ\PHDQLQJIXOQRWLFHWRWKHSXEOLF86&,6KDVFKDQJHGWKHUXOHVDQG

VWDWHGXQHTXLYRFDOO\WKDWLWZLOODSSO\LWVQHZMXULVGLFWLRQDOUHTXLUHPHQWVHYHQWRDSSOLFDWLRQV

WKDWZHUHSHQGLQJZLWKWKHDJHQF\EHIRUHWKHQHZSROLF\¶VHIIHFWLYHGDWH$SSOLFDWLRQRIWKH

QHZDV\OXPSROLF\ZLOOSUHYHQW86&,6IURPKHDULQJWKH3ODLQWLIIV¶DV\OXPFODLPVWKHUHE\

GHSULYLQJWKHPRIWKHSURWHFWLRQV&RQJUHVVSURYLGHGIRU8$&VLQWKH7935$%\VXEMHFWLQJ

3ODLQWLIIVWRDRQH\HDUEDURQILOLQJDQDV\OXPDSSOLFDWLRQVDSSOLFDWLRQRIWKHQHZDV\OXP

SROLF\ZLOOUHQGHU3ODLQWLIIVFRPSOHWHO\LQHOLJLEOHIRUDV\OXPXQOHVVWKH\DUHDEOHWRFDUU\WKH

EXUGHQRIHVWDEOLVKLQJRQHRIWZRQDUURZH[FHSWLRQVWRWKHEDULQLPPLJUDWLRQFRXUW

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         7KH5HGHWHUPLQDWLRQ0HPRUDQGXPYLRODWHVWKHSURFHGXUDOSURWHFWLRQVRI

WKH)LIWK$PHQGPHQWV¶'XH3URFHVV&ODXVH7KH5HGHWHUPLQDWLRQ0HPRUDQGXPLV

WKHUHIRUH³FRQWUDU\WRFRQVWLWXWLRQDOULJKWSRZHUSULYLOHJHRULPPXQLW\´DQGLQYDOLGXQGHU

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                                           &2817,,,
                                )DLOXUHWR)ROORZ$3$3URFHGXUH 
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         3ODLQWLIIVLQFRUSRUDWHE\UHIHUHQFHWKHSUHFHGLQJDOOHJDWLRQVRIWKLV&RPSODLQW

         8QGHUWKH$GPLQLVWUDWLYH3URFHGXUH$FWDQDJHQF\PXVWSURYLGH³>J@HQHUDO

QRWLFHRISURSRVHGUXOHPDNLQJSXEOLVKHGLQWKH)HGHUDO5HJLVWHU´ZKHQHYHUWKHDJHQF\VHHNV

WRSURPXOJDWHDUXOH86& E ([HPSWIURPWKLVUHTXLUHPHQWDUH³LQWHUSUHWLYHUXOHV

JHQHUDOVWDWHPHQWVRISROLF\RUUXOHVRIDJHQF\RUJDQL]DWLRQSURFHGXUHRUSUDFWLFH´Id.$IWHU

WKHDJHQF\KDVSXEOLVKHGWKHUHTXLUHGQRWLFH³WKHDJHQF\VKDOOJLYHLQWHUHVWHGSHUVRQVDQ

RSSRUWXQLW\WRSDUWLFLSDWHLQWKHUXOHPDNLQJWKURXJKVXEPLVVLRQRIZULWWHQGDWDYLHZVRU

DUJXPHQWV´Id. F 

         'HIHQGDQWVGLGQRWSURYLGHQRWLFHRISURSRVHGUXOHPDNLQJQRUGLGWKH\LQYLWH

FRPPHQWVIURPLQWHUHVWHGSHUVRQVEHIRUHLVVXLQJWKH5HGHWHUPLQDWLRQ0HPR

         1RQHRIWKHVWDWXWRU\H[FHSWLRQVWRWKHUHTXLUHPHQWRIQRWLFHDQGFRPPHQW

UXOHPDNLQJLVDSSOLFDEOHKHUH See86& E 

         7KHDV\OXPUXOHVVHWIRUWKLQWKH5HGHWHUPLQDWLRQ0HPRDUHOHJLVODWLYH

UXOHVQRWLQWHUSUHWLYHUXOHVEHFDXVHIRUH[DPSOHWKH\HIIHFWDVXEVWDQWLYHFKDQJHLQH[LVWLQJ

ODZ

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     )RUWKHIRUHJRLQJUHDVRQV3ODLQWLIIVUHTXHVWWKDWWKH&RXUW
        D  GHFODUHWKDWWKH5HGHWHUPLQDWLRQ0HPRUDQGXPLVXQODZIXO
        E  YDFDWHWKH5HGHWHUPLQDWLRQ0HPRUDQGXP
        F  HQMRLQ'HIHQGDQWVIURPHQIRUFLQJRUDSSO\LQJDQ\DVSHFWRIWKH
            5HGHWHUPLQDWLRQ0HPRUDQGXP
        G  HQMRLQ'HIHQGDQWVIURPWDNLQJDGMXGLFDWRU\RUHQIRUFHPHQWDFWLRQDJDLQVW3ODLQWLIIV
            RUPHPEHUVRIWKHSURSRVHGFODVVGXULQJWKHSHQGHQF\RIWKLVOLWLJDWLRQ
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